Case 2:14-cv-08802-BRO-MAN Document 9 Filed 02/26/15 Page 1 of 1 Page ID #:33



                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


 BORIS BARYSHNIKOV,                                 Case No. 2:14-cv-08802-BRO-MAN

                     Plaintiff,
 v.                                                       NOTICE OF DISMISSAL WITH
                                                                 PREJUDICE
 UNIVERSAL CREDIT CORPORATION,

                   Defendant.



        Plaintiff, Boris Baryshnikov, by counsel, hereby respectfully notifies the Court that all

 matters herein between Boris Baryshnikov and Universal Credit Corporation have been settled,

 and that the Plaintiff’s cause against Universal Credit Corporation shall be dismissed, with

 prejudice, with each party to bear their own costs and attorneys’ fees.


 This 26th day of February 2015.              By: s/ Heidi N. Miller
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                                                 Heidi N. Miller
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